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   VIRGINIA: IN THE CIRCUIT COURT OF THE WILLIAMSBURG

   N. K., A MINOR, by
   His mother and next friend, SHUKRIYYAH PAYNE,

                 Plaintiff,

  v.                                            CIVIL DOCKET NO. CL19- \\ <\ i
                                                PLAINTIFF DEMANDS JURY TRIAL

  PUMA NORTH AMERICA, INC.
  SERVE:    CT CORPORATION SYSTEM, REGISTERED AGENT
           ·4701 COX ROAD, STE. 301  . .  .
            GLEN ALLEN, VIRGINIA 23060



   AND
   PUMA GROUP, LLC AND
 · SIMON PROPERTY GROUP, L.P.




                                           COM:PLAINT

         NOW COME(S) the plaintiff, N.K, a minor, by his mother and next friend, Shukriyyah

  Payne, by counsel, and move(s) the Circuit Court of the City of Williamsburg for a judgment

  and award of execution against the defendants, Puma.North America, Inc., and Puma Group,

  LLC and Simon Property Group, L.P., jointly and severally in the amount of Seventy­Four

  Thousand Dollars ($74,000.00), for this, to-wit:

          I. Defendant, PUMA NORTH AMERlCA, INC. (hereinafter referred to as ("PUMA")

  is a foreign corporation with authority through the Virginia State Corporation Commission to

  transact business within the State of Virginia, having a place of business at 5645 Richmond

  Road, Ste. 120, Williamsburg, VA 23188, where it owns and operates a retail store.

         2.      Defendant, PUMA GROUP, LLC, is a foreign corporation with authority


                                                                                       EXHIBIT

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   through the Virginia State Corporation Commission to transact business \\�thin the State of

  Virginia, havi�g a place of business at 5645 Richmond Road, Ste. 120, Williamsburg, VA

  23188, where it owns and operates a retail store.

          3.     Defendant, SIMON PROPERTY GROUP, L.P.• is a foreign corporation with

  authority through the Virginia State Corporation _Commission to transact business within the

  State of Virginia, having a place of business at 5645 ruchrnond Road, Ste. 120, Williamsburg,

  VA 23188.

          4.     On or-about April 2, 2015, the Plaintiff, N.K., who was then two··--.-- --- · yea.rs ·and two
  month s··old, accompanied by his mother, SHUKRIYYAH PAYNE, to -the

 · Defendant's store in Williamsburg, Virginia to shop.

          5. The Defendant, its agents, servants, and/or employees acting within the scope and ·

  course of their employment, displayed some of its merchandise (in this case, athletic shoes), in a

  display case near the checkout counter in an area by which customers were likely to pass and by

  which it was necessary to stand in order to present merchandise to the cashiers and to pay for

  merchandise.

         6.      The display case was not properly secured to the counter.

         7.      The Defendant, its agents, servants, and or/ employees were negligent in setting

  up this display case in securing the display case, and in inspecting the security of the display

  case, as a result of which they had created a foreseeably unsafe and dangerous condition

  because the display case was likely to be touched, leaned against, or otherwise physically

  contacted by customers, and/or employees; and that upon such physical contact, it was

  forseeable that the display case with the merchandise in it would likely topple over.

         8.      As the ov,1ner and operator of said store, a place of business to which the general
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   public is invited, Defendant, its agent, servants and employees had a duty to maintain the

  premises in a reasonably safe condition; to !Tiake reasonable inspections to determine whether

  any latent defects or unsafe condition existed; and to warn the public of any such latent defects

  or unsafe condition, known to it. Or its agents, servants and employees.

          9. Notwithstanding said duty, Defendant, its agents and employees negligently created

  the unsafe condition as described above, although the Defendant, its agents and employees,

  knew, or in the exercise of reasonable care should have known, that ·an unsafe condition existed: . ·

          10. Notwithstanding said duty; Defendant, its agents arid employees knew," or in'the - ·

  ·exercise of reasonable· care should have known that they had created an unsafe condition as· ....

  described above ·ab'our which they knew, ·b"ut about which their customers ·.were \in.like!/ to':···.: ·

  know, yet the Defendant, its agents and employees, failed to warn customers, including the""' ·. · ·. · ··•

  Plaintiff, or the unsafe·condition.

          11. After selecting some merchandise Plaintifrs mother proceeded to the checkout

  counter where the display"case was located in order to pay for her merchandise.

         12. Plaintiff accompanied his mother to the checkout area and came in contact with the

  display case which then toppled over, striking him with great force.

          13. As a direct and proximate result of the negligence of the Defendant, its agents,

  servants, and employees, as described above, the Plaintiff, N.K., was caused to suffer severe,

  painful and permanent injuries and continues to suffer severe physical pain and mental

  anguish.

          14. As a direct and proximate result of the negligence described above, Plaintiff has

  been forced to incur substantial medical and hospital bills in an effort to be cured of his injuries.

         WHEREFORE, plaintiff demands a judgment and award of execution jointly and
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       severally against the defendants PUMA NORTH AMERJCA, INC, PUMA GROUP, LLC &

       SIMON PROPERTY GROUP, L.P. in the amount of SEVENTY-FOUR                       THOUSAND

       DOLLARS ($74,000.00), together with interest thereon from April 2, 2015 and the costs in this

       cause incUITed.

                                                  N.K., a minor, by his mother and
                                                  nextfriend,Shukriyyah Payne

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       Manolita A. Holadia, Esquire
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